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                             United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                        TEXARKANA DIVISION


 UNITED STATES OF AMERICA                            §
                                                     §
 V.                                                  §            CASE NO. 5:10CR31(4)
                                                     §
 ANTHONY SHARIFF JONES                               §


                ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                          FINDING DEFENDANT GUILTY

         On this day, the Court considered the Findings of Fact and Recommendation of United States

 Magistrate Judge Caroline M. Craven regarding Defendants’ plea of guilty to Count 1 of the Fourth

 Superseding Indictment in violation of 21 U. S.C. § 846, Conspiracy to Possess with Intent to Distribute

 more than five (5) kilograms of cocaine, a Schedule II controlled substance. Having conducted a proceeding

 in the form and manner prescribed by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the Court

 accept the guilty plea of the Defendant. Objections to the Findings of Fact and Recommendation have been

 waived by all parties. The Court is of the opinion that the Findings of Fact and Recommendation should be

 accepted.

  .      It is accordingly ORDERED that the Findings of Fact and Recommendation of the United States

 Magistrate Judge, filed November 1, 2011, are hereby ADOPTED.

         It is further ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

 GUILTY of Count 1 of the Fourth Superseding Indictment in the above-numbered cause.

             SIGNED this 2nd day of November, 2011.




                                                           ____________________________________
                                                           DAVID FOLSOM
                                                           UNITED STATES DISTRICT JUDGE
